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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 24-cv-00183-NYW-NRN

   BRENDA GONZALEZ,
           Plaintiff,

   v.

   JPMORGAN CHASE BANK, N.A.,

          Defendant.


               JPMORGAN CHASE BANK, N.A.’S ANSWER TO THE COMPLAINT


          Defendant JPMorgan Chase Bank N.A. (“Chase”), by and through undersigned counsel,

   submits its Answer to Plaintiff’s Complaint as follows:

                                         INTRODUCTION

          1.        In 1978, Congress passed the Electronic Funds Transfer Act, 15 U.S.C § 1693 et

   seq. (the “EFTA”) “to create rights for consumers in an era in which banking could be conducted

   almost exclusively through machines.” Wachter v. Denver Nat’l Bank, 751 F. Supp. 906, 908 (D.

   Colo. 1990). These rights were necessary because “[t]he absence of personal contact was seen as

   a disadvantage in an automated system that is much more vulnerable to fraud, embezzlement and

   unauthorized use than traditional payment methods.” Id. The purpose of the EFTA was “to provide

   a basic framework establishing the rights, liabilities, and responsibilities of participants in

   electronic fund and remittance transfer systems.” 15 U.S.C. § 1693(b), “The primary objective of

   [EFTA], however, is the provision of individual consumer rights.” Id.
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          RESPONSE: The above-referenced statute and case law speak for themselves and Chase

   denies any misstatements, mischaracterizations of, and inconsistencies with the same in Paragraph

   1 of the Complaint.

          2.        Plaintiff Brenda Gonzalez (“Plaintiff”) brings this action to vindicate her rights

   under the EFTA. Plaintiff maintains a personal checking account with Defendant JPMorgan Chase

   Bank, N.A. (the “Bank”). Plaintiff attempted to withdraw $800.00 from an ATM owned and

   operated by the Bank. The ATM did not dispense the cash to Plaintiff, which she was going to

   send to her uncle to pay for his medical care. Instead, the ATM dispensed a receipt confirming

   that the Bank was not “able to give cash right now.” Nevertheless, the Bank debited Plaintiff’s

   account and refused to credit Plaintiff’s bank account permanently for the withdrawal that the

   Bank’s own records show was not processed. After multiple disputes under EFTA, the Bank

   willfully and erroneously concluded that the withdrawal was processed as authorized, caused

   Plaintiff’s bank account to be overdrawn, and inhibited Plaintiff from sending money to her uncle

   for his medical care.

          RESPONSE: Chase is without sufficient information to know with certainty that Plaintiff

   herself attempted to withdraw $800.00 from an ATM owned and operated by Chase. Chase admits

   that Plaintiff presented a receipt to Chase stating the ATM was not “able to give cash right now,”

   claiming said receipt was dispensed by the ATM, and Plaintiff’s account was debited. Chase

   denies the remaining allegations in Paragraph 2 of the Complaint.

                                   JURISDICTION AND VENUE

          3.        This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

   1693m(g).


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          RESPONSE: Admitted that 15 U.S.C. § 1693m(g) and 28 U.S.C. § 1331 grant federal

   courts jurisdiction over claims brought under 15 U.S.C. § 1693m. Chase denies the allegations in

   Paragraph 3 of the Complaint to the extent that Plaintiff lacks standing to maintain her claim in

   the Complaint.

          4.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) in that a

   substantial part of the events or omissions giving rise to the claim occurred in this District.

          RESPONSE: Admitted.

                                                PARTIES

          5.         Plaintiff is a natural person who resides in the County of Arapahoe, State of

   Colorado.

          RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 5 of the Complaint, and therefore denies the allegations.

          6.         Plaintiff is a “consumer”, as that term is defined by 15 U.S.C. § 1693a(6).

          RESPONSE:         The allegation in Paragraph 6 of the Complaint constitutes a legal

   conclusion to which no response is required. To the extent a response is required, Chase denies

   the allegation.

          7.         Plaintiff is a “person”, as that term is defined by 12 C.F.R. § 1005.2(j).

          RESPONSE: The allegation in Paragraph 7 of the Complaint constitutes a legal conclusion

   to which no response is required. To the extent a response is required, Chase denies the allegation.

          8.         The Bank is a national banking association operating from an address of 1111

   Polaris Parkway, Columbus, Ohio 43240.




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           RESPONSE: The allegation in Paragraph 8 of the Complaint constitutes a legal conclusion

   to which no response is required. To the extent a response is required, Chase admits that it is a

   national banking association with its main office as indicated in Paragraph 8.

           9.         The Bank is a “financial institution”, as that term is defined by 15 U.S.C. §

   1693a(9) and 12 C.F.R. § 1005.2(i).

           RESPONSE: The allegation in Paragraph 9 of the Complaint constitutes a legal conclusion

   to which no response is required. To the extent a response is required, Chase admits that it is a

   financial institution.

                                                 FACTS

           10.        Plaintiff has a demand deposit account, commonly referred to as a checking

   account, with the Bank (the “Checking Account”).

           RESPONSE: Chase admits that Plaintiff held a Checking Account with Chase at the time

   of the incident but denies that she currently has a Checking Account.

           11.        Plaintiff uses her Checking Account primarily for personal, family, or

   household purposes.

           RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 11 of the Complaint, and therefore denies the allegations.

           12.        The Checking Account is not held or established pursuant to a bona fide trust

   relationship.

           RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 12 of the Complaint, and therefore denies the allegations..

           13.        The Checking Account is an “account”, as that term is defined by 15 U.S.C. §


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   1693a(2) and 12 C.F.R. § 1005(2)(b)(1).

           RESPONSE: The allegation in Paragraph 13 of the Complaint constitutes a legal conclusion

   to which no response is required. To the extent a response is required, Chase admits that, at the time

   of the alleged ATM withdrawal, the Checking Account was an “account.”

           14.       On September 25, 2023, Plaintiff was attempting to withdraw money from her

   Checking Account.

           RESPONSE: Chase is without sufficient information to know with certainty that

   Plaintiff herself attempted to withdraw $800.00 from her Checking Account, but does not

   currently dispute this allegation.

           15.       The money she was trying to withdraw was to help her uncle pay for medical

   care.

           RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 15 of the Complaint, and therefore denies the allegations.

           16.       Plaintiff went an ATM owned and operated by the Bank.

           RESPONSE: Chase is without sufficient information to know with certainty that Plaintiff

   herself went to a Chase ATM.

           17.       An ATM is an “electronic terminal”, as that term is defined by 12 C.F.R. §

   1005.2(h).

           RESPONSE: This paragraph contains a legal conclusion to which no response is

   required.

           18.       Plaintiff requested to withdraw $800.00 (the “Alleged Withdrawal”).




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          RESPONSE: Chase is without sufficient information to know with certainty that Plaintiff

   herself requested to withdraw $800.

          19.       The Alleged Withdrawal was not originated by check, draft, or similar paper

   instrument.

          RESPONSE: Chase admits the Alleged Withdrawal was not originated by check, draft,

   or similar paper instrument, as alleged.

          20.       The Alleged Withdrawal was an “electronic fund transfers”, as that term is

   defined by 15 U.S.C. § 1693a(7) and 12 C.F.R. § 1005.3(b).

          RESPONSE: This paragraph contains a legal conclusion to which no response is required.

          21.       The Alleged Withdrawal was initiated by using a debit card attached to

   Plaintiff’s Checking Account.

          RESPONSE: Chase admits the Alleged Withdrawal was initiated by using a debit card

   attached to Plaintiff’s Checking Account, as alleged.

          22.       The debit card is an “access device”, as that term is defined by 12 C.F.R. §

   1005.2(a)(1).

          RESPONSE: This paragraph contains a legal conclusion to which no response is required.

          23.       The ATM did not dispense any cash.

          RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 23 of the Complaint, and therefore denies the allegations.




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          24.      Instead, Plaintiff received the following receipt:




          RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to the

   authenticity of the above-referenced document, and therefore denies the allegation in Paragraph

   24 of the Complaint.

          25.      As confirmed by the above receipt, Plaintiff did not receive any funds from the

   Bank. In the Bank’s words: “We aren’t able to give cash right now.” Nevertheless, the Bank

   debited Plaintiff’s Checking Account for the Alleged Withdrawal.

          RESPONSE: Chase lacks knowledge or information sufficient to form a belief as to

   whether Plaintiff received cash from the ATM, and therefore denies the allegation.

          26.      Confused and upset that the Bank had debited her Checking Account without

   giving her any money, Plaintiff disputed the Alleged Withdrawal with the Bank.

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          RESPONSE: Chase admits that Plaintiff disputed the Alleged Withdrawal with the Bank.

   Chase lacks sufficient information to form a belief regarding the remaining allegations in

   Paragraph 26 of the Complaint, and therefore denies the allegations.

          27.       Not to worry, the Bank said, this will all be corrected.

          RESPONSE: Denied.

          28.       The Bank provisionally credited Plaintiff’s checking account and permitted her to

   withdraw the funds she needed to help with her uncle’s medical care.

          RESPONSE: Chase admits it provisionally credited Plaintiff’s checking account and

   Plaintiff withdrew the provisionally credited funds from her account, but is without sufficient

   knowledge regarding the remaining allegations in Paragraph 28 of the Complaint.

          29.       Then the Bank allegedly did an investigation. At the conclusion of this alleged

   investigation, the Bank concluded the following:




          RESPONSE: Chase admits it investigated Plaintiff’s complaint. The above-referenced

   excerpted document speaks for itself, and Chase denies any misstatements, mischaracterizations

   of, or inconsistencies with, the same in Paragraph 29 of the Complaint.

          30.       The foregoing is not an explanation of the Bank’s findings.

          RESPONSE: Denied.

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           31.         At the time that the Bank concluded that the Alleged Withdrawal “was processed

   according to the information [Plaintiff] provided or was authorized”, the Bank had a copy of the

   receipt referenced above. Below is a copy of the receipt that was retrieved from the Bank’s website:

           [SCREENSHOT OMITTED]

           RESPONSE: Denied.

           32.         The Bank could not have reasonably concluded that an error did not occur when

   it had documentation in its possession showing that the ATM was not able to dispense cash.

           RESPONSE: Denied.

           33.         The Bank knowingly and willfully concluded that Plaintiff’s Checking Account

   was not in error.

           RESPONSE: Denied.

           34.         On information and belief, the Bank did not conduct any investigation following

   Plaintiff’s notification of the error.

           RESPONSE: Denied.

           35.         The Bank reviewed only the details of the transactions, such as where they

   occurred and which access device was used and did not gather any information to determine whether

   Plaintiff received the Alleged Withdrawal.

           RESPONSE: Denied.

           36.         To the extent that the Bank did conduct an investigation following Plaintiff’s

   notification of the error, the Bank did not conduct such investigation in good faith.

           RESPONSE: Denied.

           37.         A good faith investigation would have entailed reviewing the actual, physical


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  transactions to determine whether the ATM, owned and operated by the Bank, actually dispensed

  the cash.

          RESPONSE: The allegations in Paragraph 37 of the Complaint constitute an opinion to

  which no response is required. To the extent a response is required, Chase denies the allegations.

          38.      A good faith investigation would have entailed reviewing the receipts in the

  Bank’s possession stating that the ATM was not able to dispense cash.

          RESPONSE: The allegations in Paragraph 38 of the Complaint constitute an opinion to

  which no response is required. To the extent a response is required, Chase denies the allegations.

          39.      A good faith investigation would have entailed reviewing the ATM video footage

  showing Plaintiff’s frustration at not receiving the cash from the Alleged Withdrawal.

          RESPONSE: The allegations in Paragraph 39 of the Complaint constitute an opinion to

  which no response is required. To the extent a response is required, Chase denies the allegations.

          40.      A good faith investigation would have entailed an accounting of the cash in the

  ATM compared to the withdrawals allegedly authorized.

          RESPONSE: The allegations in Paragraph 40 of the Complaint constitute an opinion to

  which no response is required. To the extent a response is required, Chase denies the allegations.

          41.      To the extent that the Bank did conduct an investigation following the Plaintiff’s

  dispute, the Bank did not have a reasonable basis for believing that the Plaintiff’s account was not

  in error.

          RESPONSE: Denied.

          42.      The Bank did not have a reasonable basis for believing that Plaintiff authorized the

  Alleged Withdrawal when the Bank had a copy of its own receipt showing that the ATM was


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  unable to dispense cash.

         RESPONSE: Denied.

         43.       The Bank knowingly and willfully concluded that Plaintiff’s Checking Account

  was not in error but such conclusion could not reasonably have been drawn from the evidence

  available to the Bank at the time of its alleged investigation.

         RESPONSE: Denied.

         44.       On information and belief, the Bank routinely denies similar claims by claiming

  that the withdrawal was authorized or processed in accordance with the account holder’s

  directions.

         RESPONSE: Denied.

         45.       The Bank incorrectly concluded that Plaintiff’s Checking Account was not in

  error and the Alleged Withdrawal was processed.

         RESPONSE: Denied.

         46.       The Bank then removed $800.00 from Plaintiff’s Checking Account causing her

  account to be overdrawn.

         RESPONSE: Chase admits it reversed the $800.00 provisional credit from Plaintiff’s

  Checking Account as had been communicated to Plaintiff, and denies the remaining allegations

  in Paragraph 46 of the Complaint.

         47.       After learning that her Checking Account was now overdrawn, Plaintiff

  contacted the Bank again disputing the Alleged Withdrawal.

         RESPONSE: Admitted.

         48.       In accordance with the Bank’s instructions, Plaintiff faxed a copy of the ATM


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  receipt stating that the ATM was not “able to give cash right now.”

         RESPONSE: Chase admits that it received a faxed copy of the referenced ATM receipt

  after the initial investigation had been concluded and after it reversed the provisional credit.

         49.       At the time the Bank requested this information, the Bank already had the

  information.

         RESPONSE: Denied.

         50.       On information and belief, the Bank did not conduct any further investigation or

  otherwise comply with the requirements of 15 U.S.C. § 1693f upon receiving the receipt showing

  that the ATM did not dispense any cash to Plaintiff.

         RESPONSE: Denied.

         51.       On December 2, 2023, Plaintiff sent a letter to the Bank notifying the Bank that

  she was disputing the Alleged Withdrawal; requesting an explanation why the Bank did not reverse

  the Alleged Withdrawal; and demanding that the Bank provide the documentation the Bank relied

  upon in concluding that the alleged withdrawal “was processed according to the information

  [Plaintiff] provided or was authorized.”

         RESPONSE: Denied.

         52.       The Bank received this letter on December 11, 2023.

         RESPONSE: Denied.

         53.       Receipt of the letter was confirmed by the USPS, tracking number

  92071901324734001944258364.

         RESPONSE: Denied.

         54.       Following receipt of the letter, the Bank did not conduct an investigation.


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           RESPONSE: Denied.

           55.        Following receipt of the letter, the Bank did not determine whether an error had

  occurred.

           RESPONSE: Denied.

           56.        Following receipt of the letter, the Bank did not mail the results of such

  investigation and determination to Plaintiff.

           RESPONSE: Denied.

           57.        Following receipt of the letter, the Bank did not provisionally recredit

  Plaintiff’s Checking Account for the amount alleged to be in error.

           RESPONSE: Chase denies the allegation in Paragraph 57 of the Complaint insofar as

  Plaintiff suggests that Chase was obligated to provisionally recredit her account under the

  circumstances alleged. Chase further avers that Plaintiff’s account was permanently recredited for

  the amount alleged to be in error on or about February 23, 2024.

           58.        Following receipt of the letter, the Bank did not explain its findings to Plaintiff.

           RESPONSE: Denied.

           59.        Following receipt of the letter, the Bank did not promptly deliver or mail to

  Plaintiff reproductions of all documents that the Bank relied upon to conclude that an error did not

  occur.

           RESPONSE: Denied.

                                                  COUNT I
                                           (Violations of EFTA)
           60.        Plaintiff incorporates by reference all of the foregoing allegations as though fully

  set forth herein.


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         RESPONSE:         Chase incorporates by reference its prior answers and denials to all

  paragraphs in this Answer as if fully set forth herein.

         61.       The Alleged Withdrawal is an “error” as that term is defined by 15 U.S.C. §

  1693f(f) and 12 C.F.R. § 1005.11(a).

         RESPONSE:         The allegations in Paragraph 61 of the Complaint constitute a legal

  conclusion to which no response is required.

         62.       Plaintiff notified the Bank of the error in accordance with 15 U.S.C. § 1693f(a)

  and the Bank’s express and accepted directions.

         RESPONSE: The allegations in Paragraph 62 of the Complaint constitute a legal

  conclusion to which no response is required.

         63.       The Bank has failed to investigate the error, determine that an error has occurred,

  and report or mail the results of such investigation and determination within ten business days to

  Plaintiff in violation of 15 U.S.C. § 1693f(a).

         RESPONSE: Denied.

         64.       The Bank has failed to provisionally recredit Plaintiff’s accounts for the amount

  alleged to be in error, including interest as applicable, pending the conclusion of its investigation

  and its determination of whether an error has occurred in violation of 15 U.S.C. § 1693f(c).

         RESPONSE: Denied.

         65.       The Bank has failed to deliver or mail to Plaintiff an explanation of its findings

  within three business days after the conclusion of its investigation in violation of 15 U.S.C. §

  1693f(d).

         RESPONSE: Denied.


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          66.       The Bank has failed to deliver or mail to the Plaintiff all documents the Bank

  relied upon to conclude that an error did not occur in violation of 15 U.S.C. § 1693f(d).

          RESPONSE: Denied.

          67.       Plaintiff is entitled to actual damages in an amount to be determined at trial. 15

  U.S.C. § 1693m(a)(1).

          RESPONSE: Denied.

          68.       Plaintiff is entitled to statutory damages in an amount of at least $100.00 and not

  more than $1,000.00 pursuant to 15 U.S.C. § 1693m(a)(2)(A).

          RESPONSE: Denied.

          69.       Plaintiff is entitled to treble damages pursuant to 15 U.S.C. § 1693f(e)(1).

          RESPONSE: Denied.

          70.       Plaintiff is entitled to treble damages pursuant to 15 U.S.C. § 1693f(e)(2).

          RESPONSE: Denied.

          71.       Plaintiff is entitled to her reasonable attorney fees and costs pursuant to 15

  U.S.C. § 1693m(a)(3).

          RESPONSE: Denied.

                                       PRAYER FOR RELIEF

          The remainder of the Complaint constitutes Plaintiff’s prayer for relief for which an answer

  is not required. To the extent an answer is required, Chase denies that Plaintiff is entitled to the

  relief requested in this section.

                                      AFFIRMATIVE DEFENSES




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          Chase alleges the following separate and distinct affirmative defenses. By referring to the

  following allegations as “Affirmative Defenses,” Chase does not concede that it bears the burden

  of proof as to such allegations.

          1.       The Complaint, and each purported claim for relief alleged therein, fails to state

  a claim upon which relief can be granted.

          2.       Plaintiff, by reason of her conduct, has waived some or all of the rights she

  asserts in the Complaint.

          3.       By reason of her acts and/or conduct, Plaintiff has unclean hands and is not

  entitled to some or all of the relief sought through her Complaint.

          4.       The Complaint, and each purported claim for relief alleged therein, is barred in

  whole or in part by the doctrine of estoppel.

          5.       The incidents alleged in the Complaint, and the alleged damages and injuries, if

  any, to Plaintiff, were proximately caused or contributed to by Plaintiff’s own breach of contract,

  negligence, participation, or other acts or omissions.

          6.       Plaintiff’s claims against Chase are barred by the failure of Plaintiff and/or her

  agents and representatives to follow the contract documents, including, without limitation, the

  Deposit Account Agreement.

          7.       Plaintiff’s claims against Chase may be barred or limited by the economic loss

  rule.

          8.       Plaintiff’s claims fail where the alleged damages are too remote or speculative.

          9.       The Complaint, and each purported claim for relief alleged therein, is barred to

  the extent that Plaintiff has been paid all sums earned by Plaintiff and that are due and owing to


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  Plaintiff.

            10.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of setoff or

  offset.

            11.      At all times relevant to this action, Chase has acted in good faith, acted

  reasonably, and dealt fairly with Plaintiff, and did not directly or indirectly commit or induce any

  act upon which liability against Chase can be predicated.

            12.      Chase alleges on information and belief, without admitting the existence of any

  duties or obligations as alleged in the Complaint, that any duties or obligations, contractual or

  otherwise, which Plaintiff claims are owed by Chase to Plaintiff have been legally excused.

            13.      The Complaint, and each purported claim for relief alleged therein, is barred to

  the extent that Plaintiff had knowledge of, acquiesced in, approved of, consented to, and/or

  ratified some or all of the acts, conduct or omissions alleged in the Complaint.

            14.      The Complaint, and each purported claim for relief alleged therein, may be

  barred due to Plaintiff’s misrepresentation of material facts relating to the alleged transaction.

                            ADDITIONAL AFFIRMATIVE DEFENSES

            To the extent that additional affirmative defenses have not been alleged herein, Chase

  reserves the right to amend its Answer to allege additional affirmative defenses.




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  DATED this 22nd day of April, 2024.    /s/ John A. Wharton
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 22nd day of April, 2024, a true and correct copy of the foregoing

  document was electronically filed using the CM/ECF electronic filing system, which will send an

  electronic copy of this filing on all counsel of record.



                                                         s/ John A. Wharton
                                                         John A. Wharton
